AUSA: Georgia V. Kostopoulos

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA 24 MAG 2753
24 Mag.
Vv.
RULE 5(c)(3) AFFIDAVIT
JORDAN GUY MACDONALD
GOUDREAU
Defendant.

SOUTHERN DISTRICT OF NEW YORK, ss.:

JACOB HAMILTON, being duly sworn, deposes and says that he is a Special
Agent with the Federal Bureau of Investigation (“FBI”), and charges as follows:

On or about July 17, 2024, the United States District Court for the Middle District
of Florida issued an arrest warrant for “Jordan Guy Macdonald Goudreau” based on a July 16,
2024 indictment charging GOUDREAU with violations of 18 U.S.C. § 554, 22 U.S.C. § 2778, 50
U.S.C. § 4819, 26 ULS.C. § 5861(d), and 18 U.S.C. § 922(0) (hereinafter, the “Indictment” and
“Warrant”). A copy of the indictment and Warrant are attached hereto as Exhibit A and Exhibit
B, and are incorporated by reference herein.

I believe that JORDAN GUY MACDONALD GOUDREAU, the defendant, who
was taken into the custody of the FB] today in the Southern District of New York, is the same
individual as the “Jordan Guy Macdonald Goudreau” who is named in the Indictment and arrest
warrant issued by the United States District Court for the Middle District of Florida.

The bases for my knowledge and for the foregoing are, in part, as follows:

1. Tama Special Agent with the FBI. This affidavit is based upon my personal
participation in this matter, as well as on my conversations with other law enforcement officers,
my examination of documents, reports, and records, and my personal observations of the defendant.
IT have been personally involved in determining whether JORDAN GUY MACDONALD
GOUDREAU, the defendant, is the same individual as the “Jordan Guy Macdonald Goudreau”
named in the Indictment and Warrant issued by the United States District Court for the Middle
District of Florida. Because this Affidavit is being submitted for the limited purpose of
establishing the identity of the defendant, I have not included in this Affidavit each and every fact
that I have learned. Where I report statements made by others, those statements are described in
substance and in part unless otherwise noted.

2. Based on my review of documents from proceedings in the United States
District Court for the Middle District of Florida, | know that, on or about July 17, 2024, the United
AUSA: Georgia V. Kostopoulos

States District Court for the Middle District of Florida issued a warrant for the arrest of “Jordan
Guy Macdonald Goudreau.” The Warrant was issued based ona Indictment charging “Jordan Guy
Macdonald Goudreau” with violations of 18 U.S.C. § 554, 22 U.S.C. § 2778, 50 U.S.C, § 4819,
26 U.S.C. § 5861 (d), and 18 U.S.C. § 922(0). See Exs. A and B.

3. Based on my participation in today’s arrest, | know that, on or about July
30, 2024, at approximately 12:00 p.m., JORDAN GUY MACDONALD GOUDREAU, the
defendant, was arrested in Manhattan, New York.

4, I believe that JORDAN GUY MACDONALD GOUDREAJU, the defendant,
is the same person as the “Jordan Guy Macdonald Goudreau” listed in the Indictment and Warrant
because, when agents interviewed JORDAN GUY MACDONALD GOUDREAU and asked him
to identify himself, he identified himself as “Jordan Guy Macdonald Goudreau.”

5. In addition, I believe that JORDAN GUY MACDONALD GOUDREAU,
the defendant, is the same person as the “Jordan Guy Macdonald Goudreau” named in the
Indictment and Warrant because when | spoke with GOUDREAU following his arrest today, |
observed that his appearance resembles that of “Jordan Guy Macdonald Goudreau” in photographs
that I have reviewed, including photographs obtained from public sources and photographs on a
website that appears to belong to GOUDREAU.

6. Additionally, J believe that JORDAN GUY MACDONALD GOUDREAU,
the defendant, is the same person as the “Jordan Guy Macdonald Goudreau” listed in the
Indictment and Warrant because when GOUDREAU was processed by law enforcement following
his arrest, he confirmed his name and date of birth, which match the name and date of birth
associated with the “Jordan Guy Macdonald Goudreau” listed in the Indictment and Warrant.

7. Finally, I believe that JORDAN GUY MACDONALD GOUDREAU, the
defendant, is the same person as the “Jordan Guy Macdonald Goudreau” listed in the Indictment
and Warrant because when GOUDREAU was arrested by law enforcement, he had a Veterans
Affairs (“VA”) identification card in his possession that listed the same name and date of birth
associated with the the “Jordan Guy Macdonald Goudreau” listed in the Indictment and Warrant.
AUSA: Georgia V. Kostopoulos

WHEREFORE, I respectfully request that JORDAN GUY MACDONALD
GOUDREAU, the defendant, be imprisoned or bailed, as the case may be.

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JAZOB HAMILTON
Special Agent
Federal Bureau of Investigation

Sworn to before me this
30th day of July, 2024

/ ry /
THE HONORABVE GARY STEIN
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK
AUSA: Georgia V. Kostopoulos

EXHIBIT A
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
v. CASE NO. @:24 cv 320-Vrie-cPq

JORDAN GUY MACDONALD GOUDREAU and
YACSY ALEXANDRA ALVAREZ MIRABAL

ORDER
The Motion to Seal Indictment and Related Documents filed by the United
States is hereby GRANTED, and the Clerk of Court is so directed.
The Clerk is further directed to seal the Indictrnent in this cause except when

necessary to provide certified copies of the Indict TE United States

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Attorney’s Office; i Ww AS A Abies

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It is further ordered that teaver verbal request from the United States Attorney’s
Office that the United States Marshals Service is to release a certified copy of the
arrest warrant to the case agent or other appropriate law enforcement and/or to the
United States Attorney’s Office without further order of the Court. It is further
ordered that the United States Marshals Service or other appropriate law
enforcement agency may enter the arrest warrant into the National Crime
Information Center (NCIC) database or other Tre, law enforcement database
without further order of the Courter a we 3 Ye
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It is further ordered ce States may disclose the existence of the

Indictment in any search and seizure warrants to be executed in conjunction with the
arrest of the defendant.

The Clerk is further ordered to unseal all documents relating to the Indictment
without any further Order of the Court when any named defendant 1s taken into

custody.

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DONE AND ORDERED at Tampa, Florida, this‘ oo day of July 2024.

HON. THOMAS G. WILSON
United States Magistrate Judge

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA
v. CASE NO, @:24cv330-Unc-CPT

JORDAN GUY MACDONALD GOUDREAU and 18 U.S.C. § 371
YACSY ALEXANDRA ALVAREZ MIRABAL (Conspiracy)

18 U.S.C, § 554
(Smuggling)

22 U.S.C. § 2778 (Arms
Export Control Act)

50 U.S.C, § 4819 (Export
Control Reform Act)

26 U.S.C, § 5861{d)
(National Firearms Act)
18 U.S.C. § 922(0)
(Unlawful Possession of

Machinegun)
INDICTMENT
The Grand Jury charges: .
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COUNT ONE Wise ELS IPH
(Conspiracy)

A. Introduction

At times material to this Indictment:
1. JORDAN GUY MACDONALD GOUDREAU (“GOUDREAVU”)
was a United States citizen who resided in Melbourne, Florida. GOUDREAU was

the Chief Executive -Qffi re site| DYYSA, Inc, (“SILVERCORP”), a company
ys Fa FS

located in Melbol) ;

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e/Blorida.” 7“
2, YACSY ALEXANDRA ALVAREZ MIRABAL (“ALVAREZ”) was a
Venezuelan citizen who resided in Colombia.

3. GOUDREAU, ALVAREZ, and others conspired to export AR-type
firearms, night vision devices, laser sights, and other equipment from the United
States to Colombia, without obtaining the required export licenses, to carry out an
armed incursion into Venezuela to remove Nicolas Maduro Moros from power.

RELEVANT LAW

4, In furtherance of the national security and foreign policy interests of the
United States, the export of defense-related articles is regulated by the Arms Export
Control Act (“AECA”), 22 U.S.C. § 2778. Section 2778(a) authorizes the President
of the United States to control the export of defense articles and to establish a United
States Munitions List (“USML”), which identifies and defines the defense articles
"subject to those controls. Section 2778(b) provides that any person engaged in the
business of exporting any defense article shall register with the government and that
no defense articles may be exported without a license for such export. Section
2778(c) establishes criminal penalties for any wiliful violation of Section 2778 or any
rule or regulation thereunder.

5. The United States Department of State, through the Directorate of
Defense Trade Controls (“DDTC”), implements the AECA through the
International Traffic in Arms Regulations (““ITAR”), Title 22, Code of Federal
Regulations, Parts 120-130. These regulations establish the USML and require a

license for the export of any item on the USML, which is set forth in 22 C.F.R. §

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121.1. “Defense articles,” as that term is used in the AECA and the ITAR, means
items designated for placement on the USML as weapons and other implements of
war. With limited exceptions, a person or entity seeking to export from the United
States items designated “defense articles” on the USML must receive a license or
other approval from the DDTC.

6. Further, the Export Control Reform Act (“ECRA”), 50 U.S.C. §§ 4811-
4852, controls the export, reexport, and in-country transfer of certain goods,
software, and technologies that can be used both for civilian and military
applications and could make a significant contribution to the military potential of
other nations or could be detrimental to the foreign policy or national security of the
United States. It is a crime to willfully violate, attempt to violate, conspire to violate,
or cause a violation of any regulation, order, license, or authorization issued
pursuant to the ECRA, Id, § 4819.

7. The United States Department of Commerce, through the Bureau of
industry and Security (“BIS”), implements the ECRA through the Export
Administration Regulations (“EAR”), Title 15, Code of Federal Regulations, Parts
730-774. The BIS imposes licensing and other requirements on the export, reexport,
and in-country transfer of EAR-controlled items. The most sensitive items subject to
the EAR controls are identified on the Commerce Control List (“CCL”), set forth in
Title 15, Code of Federal Regulations, Part 774, Supplement Number 1. Items listed

on the CCT, are categorized by Export Control Classification Number (“ECCN”),
each of which is subject to export control restrictions depending on the item's
technical characteristics, country of destination, end use, and end user.

8. As part of U.S. export regulatory changes, on or about March 9, 2020,
the U.S. government transferred certain items, including semi-automatic AR-type
firearms, from control under the USML to the CCL. See 85 Fed. Reg. 4,136 (Jan. 23,
2020).

B. The Conspiracy

9, Beginning as early as in or around November of 2019, and continuing
through on or about March 23, 2020, in the Middle District of Florida, and
elsewhere, the defendants,

JORDAN GUY MACDONALD GOUDREAU and
YACSY ALEXANDRA ALVAREZ MIRABAL,

did knowingly and willfully combine, conspire, and agree with each other and with
others known and unknown to the Grand Jury to commit the following offenses
against the United States:

a. to knowingly and willfully export and cause to be exported from
the United States to Colombia defense articles, without first having obtained a
license or other written authorization for such export, in violation of 22 U.S.C. §
2778 and 22 C.F.R. § 127.1;

b. to knowingly and willfully export and cause to be exported from

the United States to Colombia items on the Commerce Control List, without first
having obtained a license or other written authorization for such export, in violation
of 50 U.S.C, § 4819 and 15 C.FLR. §§ 736.2, 764.2; and

c. to fraudulently and knowingly export and send from the United
States merchandise, articles, and objects, contrary to a law and regulation, and
receive, conceal, buy, and facilitate the transportation and concealment of such
merchandise, articles, and objects, prior to exportation, knowing the same to be
intended for exportation contrary to a law and regulation of the United States,
specifically, 50 U.S.C. § 4819, 15 C.F-LR. §§ 736.2, 764.2, 22 U.S.C. § 2778, and 22
CER. § 127.1, in violation of 18 U.S.C. § 554(a).

C. Manner and Means
10. The manner and means by which the co-conspirators sought to
accomplish the object of the conspiracy included, among others:

a. It was part of the conspiracy that the co-conspirators would and
did identify firearms and military-related equipment for export to Colombia;

b. It was further part of the conspiracy that GOUDREAU would
and did obtain funds in the United States to buy firearms and military-related
equipment for export to Colombia;

c. It was further part of the conspiracy that the co-conspirators
would and did buy and receive firearms and military-related equipment in the United

States for export to Colombia;
d. It was further part of the conspiracy that co-conspirators would
and did assemble and arrange for the assembly of AR-type firearms in the United
States for export to Colombia;

e, It was further part of the conspiracy that co-conspirators would
and did transport firearms and military-related equipment within the United States
before its shipment to Colombia;

f. It was further part of the conspiracy that co-conspirators would
and did export firearms and military-related equipment, including AR-type firearms,
silencers, night vision devices, laser sights, and helmets, from the United States to
Colombia;

g. It was further part of the conspiracy that co-conspirators would
and did travel by private aircraft to carry people and military-related equipment to
Colombia;

h. It was further part of the conspiracy that co-conspirators would
and did use email and text messages and other forms of communication to
communicate with each other regarding the export of firearms and military-related
equipment to Colombia;

i. It was a further part of the conspiracy that GOUDREAU would
and did pay ALVAREZ for her services;

j. It was further part of the conspiracy that co-conspirators would
and did employ various techniques to protect their anonymity and to thwart

detection of their activities by government and law-enforcement agencies; and
k. It was further part of the conspiracy that co-conspirators would
and did perform acts and make statements to misrepresent, hide, and conceal, and
cause to be misrepresented, hidden, and concealed, the purpose of the conspiracy
and the acts committed in furtherance thereof.

D. Overt Acts
11. In furtherance of the conspiracy, and to effect the objects thereof, at
least one of the co-conspirators committed or caused to be committed the following
overt acts, among others, in the Middle District of Florida and elsewhere:

a. On or about November 7, 2019, GOUDREAU sent text
Messages to an equipment distributor, stating, “Here is the list bro,” which lst
included, among other things, night vision devices, ballistic helmets, AR-1L5 rifles
with iron sights, and red dot sights.

b. | Onor about November 12, 2019, GOUDREAU, doing business
as SILVERCORP, executed a loan agreement with an associate, in which he
promised to repay the associate $100,000 plus $100,000 in interest within 12 months.

Cc. On or about December 7, 2019, GOUDREAJU sent text
messages to an associate, providing an address for a storge unit utilized by

GOUDREAJU in Phoenix, Arizona, and identifying it as “[t]he place you are picking
up the ammo,”

d. On or about December 15, 2019, GOUDREAU purchased six
Steiner eOptics Laser Devices Dual Beam Aiming Lasers DBAL-I2, with a delivery

address of an associate’s location in Miami, Florida.
e. On or about December 17, 2019, GOUDREAU made several
purchases of AR-type firearm components and tools for assembling AR-type
firearms, with a delivery address of SILVERCORP'’s location in Melbourne, Florida,
including the following items: sixty complete upper assemblies of different lengths;
sixty 80% lower bulk receivers and one 80% lower receiver and jig kit; and sixty
lower build kits.

f, On or about December 17, 2019, ALVAREZ sent a text
message to GOUDREAU asking him whether she would be “taking things” with her
on an upcoming flight from the United States to Colombia.

g. On or about December 21, 2019, GOUDREAU sent a
SILVERCORP associate a text message, stating, “We def need our guns.”

h, On or about December 22, 2019, ALVAREZ sent
GOUDREAU a text message, asking, “Are you going to need that I bring something
for you from US??”

i, On or about December 22, 2019, ALVAREZ sent
GOUDREAU a text message, stating, “I Drive from Tampa to Miami the same 26.”

j.  Onor about December 22, 2019, GOUDREAU sent
ALVAREZ a text message, stating, “I will give you the stuff on the 26.”

k. On or about December 24, 2019, GOUDREAU purchased 30
Vortex Optics SPARC red dot sights and eight solvent traps, also known as silencers,

with a delivery address of SILVERCORP’s jocation in Melbourne, Florida.
L On or about December 26, 2019, ALVAREZ traveled from
Miami, Florida, to Barranquilla, Colombia on a commercial flight.

m. On or about December 27, 2019, GOQUDREAU, doing business
as SILVERCORP, purchased a 2006 Cranchi Endurance 41 yacht for approximately
$90,000.

n. On or about December 30, 2019, GOUDREAU, doing business
as SILVERCORP, paid ALVAREZ $2,000 via Zelle transfer.

QO. On or about December 31, 2019, GOUDREAU, doing business
as SILVERCORP, paid ALVAREZ $2,000 via Zelle transfer.

p. On or about January 2, 2020, GOUDREAU sent a text message
to a SILVERCORP associate, asking, “How are the lowers coming?”

q. On or about January 2, 2020, GOUDREAU ordered one
KDSG PVS-14 Monocular L3 Gen 3 system optical sight, which was shipped to
SILVERCORP’s location in Melbourne, Florida.

r. On or about January 2, 2020, GOUDREAU traveled from
Orlando, Florida to Bogota, Colombia on a commercial flight.

3. On or about January 3, 2020, GOUDREAU ordered six
Sightmark ReadyFire IR6 infrared laser sights with a delivery address of
SILVERCORP’s location in Melbourne, Florida.

t. On or about January 7, 2020, GOUDREAU ordered six
Sightmark ReadyFire IR6 infrared laser sights with a delivery address of

SILVERCORP’s location in Metbourne, Florida.
u. On or about January 7, 2020, GOUDREAU electronically
signed an order compliance form acknowledging that all products sold by a night
vision goggles company are subject to export control laws and regulations of the U.S.
Government.

v. On or about January 9, 2020, GOUDREAU traveled from
Barranquilla, Colombia, to Miami, Florida on a commercial flight.

Ww. On or about January 12, 2020, GOUDREAU sent ALVAREZ a
text message listing the contents that they would be sending to Colombia via private
airplane, including “60 vests,” “60 steel plates,” “3 med bags,” “60 plastics helmets,”
and “Airsoft helmets.”

Xx. On or about January 12, 2020, GOUDREAU ordered two
Sightmark ReadyFire IR6 laser sights with a delivery address of SILVERCORP’s
location in Melbourne, Florida.

y: On or about January 13, 2020, GOUDREAU ordered three Sig
Sauer Romeo5S XDR red dot sights and one Sightmark ReadyFire IR6 infrared laser
sight with a delivery address of SILVERCORP’s location in Melbourne, Florida.

Zz. On or about January 15, 2020, ALVAREZ sent an email to
GOUDREAU with the subject line “Training Letter,” in which she requested that
GOUDREAJU sign an attached draft document purporting to memorialize an
agreement in which Silver Corp USA S.A.5., which ALVAREZ and GOUDREAU

had registered in Barranquilla, Colombia on or about June 28, 2019, was holding a

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three-week training session for approximately 60 attendees, for which they needed 60
vests with plates, 60 walkie-talkies, 60 airsoft helmets, and 60 personal kits.

aa. On or about January 15, 2020, ALVAREZ traveled on a private
aixplane from Barranquilla, Colombia, to the Miami-Opa Locka Executive Airport
(“Opa Locka Airport”).

bk, Onor about January 16, 2020, GOUDREAU, ALVAREZ, and
others traveled by private airplane from the Opa Locka Airport to Barranquilla,
Colombia.

ce. On or about January 18, 2020, GOUDREAU sent a
SILVERCORP associate a text message, stating, “We have another bird going out
on Wednesday maybe just coordinate with [ALVAREZ] to ensure that everything
gets on the bird.”

dd. On or about January 22, 2020, GOUDREAU traveled from
Barranquilla, Colombia, to Miami, Florida, on a commercial flight.

ee, On or about January 24, 2020, ALVAREZ traveled from
Barranquilla, Colombia, to Miami, Florida on a commercial flight.

ff, On or about January 24, 2020, GOUDREAU, doing business as
SILVERCORP, paid ALVAREZ $3,000 via Zelle transfer.

gg. On or about January 24, 2020, GOUDREAU and ALVAREZ
traveled off the coast of Florida in the Cranchi Endurance 4} yacht, which held
cargo including thousands of rounds of .556 ammunition in ammunition cans, plate

body armor, military-style helmets, and high-capacity magazines for AR-15 rifles.

i]
hh. On or about January 24, 2020, GOUDREAU ordered one
Sightmark ReadyFire IR6 infrared laser sight, 10 Sig Sauer Romeo5 1x20mm red dot
sights, three Steiner OTAL-C IR Offset Tactical Aiming Lasers, and three Steiner
eOptics Laser Devices Dual Beam Aiming Lasers DBAL-D, with a delivery address
of SILVERCORP’s location in Melbourne, Florida.

ii. On or about January 27, 2020, GOUDREAU ordered eight
Sightmark ReadyFire IR6 infrared laser sights, seven Sig Sauer RomeoS XDR red
dot sights, three Sig Sauer RomeoS 1x20mm red dot sights, and 10 Sniper FL3000R
Green/IR laser sights with a delivery address of SILVERCORP’s location in
Melbourne, Florida.

ji On or about January 28, 2020, GOUDREAU ordered 20
Sightmark ReadyFire IR6 infrared laser sights with a delivery address of
SILVERCORP’s location in Melbourne, Florida.

kk. On or about February 6, 2020, ALVAREZ traveled by private
airplane from the Opa Locka Airport to Barranquilla, Colombia.

It. On or about February 14, 2020, GOUDREAU, doing business
as SYLVERCORP, paid ALVAREZ $700 via Zelle transfer.

mm. In or around the third week of February 2020, GOUDREAU

left the United States with a SILVERCORP associate in the Cranchi Endurance 41
yacht that he had purchased on December 27, 2019.

nn. Onor about February 20, 2020, GOUDREAU caused an

equipment distributor to create a packing slip for tactical backpacks, pants, helmets,

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and other items to be shipped from Hialeah, Florida to ALVAREZ in Barranquilla,
Colombia.

oo. Onor about March 11, 2020, GOUDREAU, doing business as
SILVERCORP, paid ALVAREZ $1,300 via Zelle transfer.

pp. Onor about March 23, 2020, in or near Barranquilla, Colombia,
ALVAREZ and an associate loaded suitcases into the associate’s car, from which
AR-type firearms, night vision devices, laser sights, helmets, and solvent traps were
seized by the Colombian National Police on or about the same day.

qq. On or about March 23, 2020, GOUDREAU sent a text message
to an equipment distributor asking if there was any way to get the “other pallet” from
Miami to Colombia.

Alt in violation of 18 U.S.C. § 371.

COUNT TWO
(Smuggling Goods from the United States)

1. Paragraphs | through 3 of Count One of this Indictment are hereby
realleged and incorporated by reference as though fully set forth herein.
2. On or about December 17, 2019, in the Middle District of Florida and
elsewhere, the defendant,
JORDAN GUY MACDONALD GOUDREAU,
did fraudulently and knowingly receive, conceal, and buy merchandise, articles, and
objects, that is, approximately sixty 80% lower bulk receivers, which were designated

as defense articles on the United States Munitions List, prior to exportation, knowing

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the same to be intended for exportation contrary to a law and regulation of the
United States, specifically, 22 U.S.C. § 2778, and 22 C.F.R. § 127.1.
In violation of 18 U.S.C. §§ 554(a) and 2.

COUNT THREE
(Smuggling Goods from the United States)

1. Paragraphs 1 through 3 of Count One of this Indictment are hereby
realleged and incorporated by reference as though fully set forth herein.

2. On an unknown date between December 17, 2019, and March 23,
2020, in the Middle District of Florida and elsewhere, the defendants,

JORDAN GUY MACDONALD GOUDREAU and
YACSY ALEXANDRA ALVAREZ MIRABAL,

aided and abetted by each other and by others known and unknown to the Grand
Jury, did fraudulently and knowingly export and send from the United States
merchandise, articles, and objects, that is, approximately twenty-four semi-automatic
AR-type firearms, which were seized by Colombian National Police in Santa Marta,
Colombia, on or about March 23, 2020, contrary to a law and regulation of the
United States, specifically, 50 U.S.C. § 4819, 15 C.F.R. §§ 736.2, 764.2, 22 U.S.C.

§ 2778, and 22 CFR. § 127.1.

In violation of 18 U.S.C. §§ 554(a) and 2.

C S FOUR THROUGH EIGHT
(Violations of the Arms Export Control Act)

1. Paragraphs 1 through 3 of Count One of this Indictment are hereby

realleged and incorporated by reference as though fully set forth herein.

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2.

On an unknown date between December 15, 2019, and March 23,

2020, in the Middle District of Florida and elsewhere, the defendants,

JORDAN GUY MACDONALD GOUDREAU and
YACSY ALEXANDRA ALVAREZ MIRABAL,

aided and abetted by each other and by others known and unknown to the Grand

Jury, did willfully export and cause to be exported, from the United States to

Colombia, the items specified in each count below, which were seized by Colombian

National Police in Santa Marta, Colombia, on or about March 23, 2020, and which

were designated as defense articles on the United States Munitions List, without first

having obtained from the United States Department of State a license or written

approval for such export:
Count Defense Article Quantity U.S. Munitions
(Approximate) List Category
4 Fully automatic AR-type 2 I(b)
firearms
5 Sniper FL3000R Green 7 XTI(c)(2)Civ)
Laser Sight
6 Steiner eOptics Laser 7 XII(c)(2)
Devices Dual Beam
Aiming Laser Intelligent
DBAL-I2
7 Steiner OTAL-C IR. Offset 7 ALU (cK(2)(iv)
Tactical Aiming Laser
8 KDSG PVS-14 Monocular 1 XUI(c)(2)ii)
L3 Gen 3

In violation of 22 U.S.C. § 2778, 22 C.F.R. § 127.1, and 18 U.S.C. § 2.

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co S NINE OUG. L
(Violation of the Export Control Reform Act of 2018)

1. Paragraphs 1 through 3 of Count One of this Indictment are hereby
realleged and incorporated by reference by reference as though fully set forth herein.

2. On an unknown date between December 15, 2019, and March 23,
2020, in the Middle District of Florida and elsewhere, the defendants,

JORDAN GUY MACDONALD GOUDREAU and
YACSY ALEXANDRA ALVAREZ MIRABAL,

aided and abetted by each other and by others known and unknown to the Grand
Jury, did wiilfully export and cause to be exported, from the United States to
Colombia, the items specified in each count below, which were seized by Colombian
National Police in Santa Marta, Colombia, on or about March 23, 2020, and which
were on the Commerce Control List, without first having obtained the required

licenses or authorizations from the United States Department of Commerce:

Count Item Quantity Commerce
(Approximate) Control List
9 Sightmark Readyfire IR6 30 0A504.f
Laser Sights

10 Sig Sauer RomeoS5 XDR 8 0A504.c
Compact Red Dot Sights

il Sig Sauer Romeo5 12 0A504.c
1x20mm Compact Red.

Dot Sights
12 Vortex Optics SPARC Red 23 0A504.c
Dot Optical Sight

In violation of 50 U.S.C. § 4819, 15 CER. § 764.2, and 18 U.S.C. § 2.

16
COUNT THIRTEEN
(Violation of the National Firearms Act)

1. Paragraphs 1 through 3 of Count One of this Indictment are hereby
realleged and incorporated by reference as though fully set forth herein.
2. On an unknown date between December 24, 2019, and March 23,

2020, in the Middle District of Florida, the defendant,

JORDAN GUY MACDONALD GOUDREAU,
knowingly possessed a firearm, as defined in 26 U.S.C. § 5845(a)(7) and 18 U.S.C.
§ 921(a)(25), namely, eight silencers, which were seized by Colombian National
Police in Santa Marta, Colombia, on or about March 23, 2020, and were not
registered to him in the National Firearms Registration and Transfer Record, in
violation of 26 U.S.C. § 5841.
In violation of 26 U.S.C. §§ 5861(d) and 5871.

COUNT FOURTEEN
(Unlawful Possession of a Machinegun)

1. Paragraphs ] through 3 of Count One of this Indictment are hereby
realleged and incorporated by reference as though fully set forth herein.
2. On an unknown date between December 17, 2019, and March 23,
2020, in the Middle District of Florida, the defendant,
JORDAN GUY MACDONALD GOUDREAUD,
knowingly possessed a machinegun, that is, two fully automatic AR-type firearms,

which were seized by Colombian National Police in Santa Marta, Colombia, on or

17
about March 23, 2020.
In violation of 18 U.S.C, §§ 922(0) and 924(a)(2).
FORFEITURE

1. The allegations contained in Counts One through Fourteen are
incorporated by reference for the purpose of alleging forfeiture pursuant to 18 U.S.C.
§§ ogi(ay(1XC) and 982(a)(1), 22 U.S.C. § 401, 26 U.S.C. § 5872, 28 U.S.C.

§ 2461(c), 49 U.S.C. § 80303. and 50 U.S.C. § 2778.

2. Upon a conviction of a violation of 50 U.S.C. § 4819, or a conspiracy to
violate 50 U.S.C. § 4819, the defendants shail forfeit to the United States, pursuant to
50 U.S.C. § 4819(d):

a. Any property, real or personal, used, in any manner, to commit
or facilitate the violation;

b. Any property, real or personal, constituting or traceable to the
gross proceeds taken, obtained, or retained, in connection with or as a
result of the violation; and/or

c. Any property constituting an item or technology that is exported
or intended. to be exported as a result of the violation.

3. Upon conviction of the violation of 22 U.S.C. § 2778, or a conspiracy to
violate 22 U.S.C. § 2778, the defendants shall forfeit to the United States, pursuant to
18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), any property, real or personal,
which constitutes or is derived from proceeds traceable to the offense, and, pursuant

to 22 U.S.C. § 401 and 28 U.S.C. § 2461, any arms or munitions of war or other

18
articles attempted to be exported in violation of 22 U.S.C. § 2778, and any vessel,
vehicle, or aircraft used in exporting or attempting to export such articles.

4, Upon conviction of a violation of 18 U.S.C. § 554, or a conspiracy to
violate 18 U.S.C. § 554, the defendant shall forfeit to the United States, pursuant to
18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), any property, real or personal,
which constitutes or is derived from proceeds traceable to the violation.

2. Upon conviction of a violation 26 U.S.C. § 5861, the defendant shall
forfeit to the United States, pursuant to 26 U.S.C. § 5872 and 28 U.S.C. § 2461(c),
any firearms involved in the violation, and, pursuant to 49 U.S.C. § 80303 and 28
U.S.C. § 2461{c), any aircraft, vehicle, or vessel used to facilitate the transportation,
concealment, receipt, possession, purchase, sale, exchange, or giving away of such
firearm.

6. Upon conviction of a violation of 18 U.S.C. § 922(g) or any other
criminal law of the United States, the defendant shall forfeit to the United States,
pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), all firearms and ammunition
involved in or used in the violation.

7. The property to be forfeited includes, but is not limited to, the
following:

a. Twenty-six AR-type firearms;
b. Seven Sniper FL3000R Green Laser Sights;
c. Seven Steiner eOptics Laser Devices Dual Beam Aiming Laser

Intelligent DBAL-I2;

19
and

j.

Seven Steiner OTAL-C IR. Offset Tactical Aiming Laser;

One KDSG PVS-14 Monocular L3 Gen 3; .

Thirty Sightmark Readyfire IR6 Laser Sights;

Eight Sig Sauer Romeo5 XDR Compact Red Dot Sights;
Tweive Sig Sauer Romeos 1x20mm Compact Red Dot Sights;

Twenty-Three Vortex Optics SPARC Red Dot Optical Sights;

Eight Aluminum D Size Solvent Filters/Traps Direct Attach -

1/4" (.223/5.56), also known as “silencers.”

8. If any of the property described above, as a result of any act or omission

of the defendant:
a.
b.

Cc,

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third person;
has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value; or

has been commingled with other property which cannot be

subdivided without difficulty;

20
_ the United States shall be entitled to forfeiture of substitute property pursuant to 21

U,S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

A TRUE BILL,
Foreperson
ROGER B. HANDBERG JENNIFER K. GELLIE
United States Attorney Executive Deputy Chief,
Counterintelligence and Export Control
Section
Risha Asokan — @*- Menno Goedman
Assistant United States Attorney Trial Aitorne
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jain eager cor | _
Daniel J Emma Ellenrieder
poder National Security Section Trial Attorney

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FE-ddo0 WHO4
AUSA: Georgia V. Kostopoulos

EXHIBIT B
AO 442 (Rev t1/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

United States of America

v, )
Jordan Guy Macdonald Goudreau ) CaseNo. @t24cy BBO-VHC- COT
)
)
)
coun evo anaes )
Defandant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person io be arrested) Jordan Guy Macdonald Goudreau os
who is accused of an offense or Violation based on the ee ited with the court:

Indictment C1 Superseding yj ’ nai oF ‘Superseding Information © Complaint
[ Probation Violation Petition Supervised Release Violation F Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

Conspiracy to Violate Arms Export Control Act, in violation of 18 U.S.C. § 371;
Smuggling, in violation of 18 U.S.C. § 554;

AECA Violations, in violation of 22 U.S.C. § 2778;

ECRA Violations, in violation of 50 U.S.C. § 4819;

Violation of the National Firearms Act, in violation of 26 U.S.C. § 5864{d); and
Unlawful Possession of a Machinegun, in viclation of 18 U.S.C. § 922(0)

Date: 7] fv" [2024

Ssuing officer's sigmature

City and state: Tampa, FL . ELIZABETH WARREN, Clerk, united iE PARO MORENO
Printed natne and tile
Return
This warrant was received on fdatey ____ , and the person was arrested on (date)
at (city and state) oon
Date:

Arresting officer's signature

Printed! name and title °°

AO 442 (Rev [I/11) Arrest Warrant (Page 2}

This second page contains personal identifiers provided for law-enforcement use only
and therefore should aot be filed in court with the executed warrant unless under seal.

(Not for Publie Disclosure)

Name of defendantoffender: _Jordan Guy Macdonald Goudreau

Known aliases: venaee se snes

Last known residence:

Prior addresses to which defendant/offender may still have ties:

Last known employment:

Last known telephone numbers:

Place of birth: | -
Date of birth:

Social Security number:

Height: _ _ Weight:

Sex; ee ewe RACE
Hair ee Eyes: _

Scars, tattoos, other distinguishing marks:

History of violence, weapons, drug use:

ay

Known family, friends, and other associ ites

FBI number: oe
Complete description of auto:

Investigative agency and address:

Name and telephone numbers (office and cell) of pretrial services or prabation officer (i applicable):

Date of iast contact with pretrial services or probati
i he

AO 257 (Rev. 6/78}

PER 18 U.S.C, 3170

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

By-Licompcani{_]inrormationy INDICTMENT[ |] SUPERSEDING[Y] SEALED

OFFENSE CHARGED

Conspiracy to Violate Arms Export [leetty
Control Act; Smuggling; AECA

Violations; ECRA Violations; Violation [J minor
of the National! Firearms Act, and

: Misdemeanor
Unlawful Possession of a
Machinegun Felony
Place of Offense U.S.C. Citation
MDFL dugeeah use i

26U8.6 $4461 4US.6 Gotta)

beeen eee nee PROCEEDING. ... 00... cc cee cern aee
Name of Complainant Agancy, or Persan (& Tite, if any}

Special Agent Jacob Hamilton, FBI, 813-394-1715_..
oh,

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LJ

LI

person is awaiting trial in another Federal or State Cout Give jamie
of court: x o

Be

this person/proceeding is transferred from anothaf district per FROrP

Fel | 21 or[_}40. Show District:

this is a reprosecution of charges previously dismissed which were
dismissed on motion of:

[ Jus. Att'y [Joefense

DOCKET NO.

this prosecution relates to a pending case involving this same
defendant

[J
LI

Name and Office of Person
Fumilshing information on This Form

Roger 8, Handberg U.S.Atty
Name of Asst. U.S, Atty:

prics proceedings or appearance(s) MAGISTRATE CASE NO,

before U.S. Magistrate regarding
this defendant were recorded under +

Cc Other U.S. Agency

Risha Asokan

Legal Assistant: Gabriella Mientek, 84

Name of District Court, and/or Judge/Magistrate Location (City)
MIDDLE DISTRICT OF FLORIDA
TAMPA , FLORIDA

Defendant -ULS. vs, Jordan Guy Macdonald Goudreau

afkia {if applicable}
If mulli-defendant case, Lead Defendant: Jordan Guy Macdonald Gaudreau

Address Currently living in New York City

BirthDate = AF Years Old (Optional unless a juvenile)
Male [__]Female [7] Aten, citizenship:
SSN: FBI No, Cédula No.

.oeee.-.DEFENDANT...0000..0.0000....0.05
iS NOT IN CUSTODY

Has not been arrested, pending outcome this proceeding

if not detained give dale any prior summons }
was served on above charges

2) [| ls a Fugitive

3) [| 's on Bail or Release from (show District)

IS IN CUSTODY
4) [| on this charge

§) CJ On another conviction

6) Awaiting trial on other charges reel] Slate”
If answer to (6) is "Yes", show name of institution:
Booking No.

Has detainer [}ves } If "Yes"
been filed? [4 No } give date filed:

DATE OF
ARREST »

if arresting Agency & Warrant were not Federal
DATE TRANSFERRED
TOUS. CUSTODY +

[]this feport amends AO 257 previously submitted

Le

ADDITIONAL INFORMATION OR COMMENTS

METHOD OF SERVICE: RECOMMENDED BOND; COURTROOM REQUIREMENTS: Will there be a defendant or witness in custody?
Warrant Detention [] ves [¥]

Statutes: Counts: Penalty Provisions: Maximum Penalty:

18U.S.C.§371 One 18 U.S.C. § 371 5 Years’ imprisonment / $250,000 Fine / 3 Years of SR / $100 Assessment Fee

18 U.S.C. § 554 Two and Three

22U.S.C.§ 2778 Four - Eight UsSe§?

Related Cases:
Def. Counsel:

OCDETF Case: [ _] ves No
Gang Member: [Yes No lf Yes, gang affiliation:

18 U.S.C. §§ 554(a) and gy 10 Years’ Imprisonment / $250,000 Fina / 3 Years of SR / $100 Assessment Fee

(AUS C8278. 220.688 427 Lend 18 wy 99 Years! imprisonment / $1M Fine / 3 Years of SR / $100 Assessment Fee

[] (AP) Appointed
C | (FD) Faderal Public Defender
|| (PS) Pro Se
| (RE) Retained
(TB) To be Appointed
Start Date:

Ree WEL QES

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